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           NOTE: This order is nonprecedential.


    United States Court of Appeals
        for the Federal Circuit
                   ______________________

                      ALIVECOR, INC.,
                         Appellant

                                   v.

       INTERNATIONAL TRADE COMMISSION,
                   Appellee

                          APPLE INC.,
                           Intervenor

            -------------------------------------------------

                          APPLE INC.,
                           Appellant

                                   v.

       INTERNATIONAL TRADE COMMISSION,
                   Appellee

                     ALIVECOR, INC.,
                         Intervenor
                   ______________________

                    2023-1509, 2023-1553
                   ______________________

    Appeals from the United States International Trade
 Commission in Investigation No. 337-TA-1266.
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 2                                       ALIVECOR, INC. v. ITC




                   ______________________

                       ON MOTION
                   ______________________

 PER CURIAM.

                         ORDER
     The parties’ jointly move to clarify the procedures for
 the oral argument currently scheduled in the above-cap-
 tioned matter on July 12, 2024. Specifically, the parties re-
 quest that oral argument be conducted in five rounds, with
 AliveCor, Inc. and Apple Inc. each allocated 15 minutes to
 divide between opening and rebuttal arguments and the
 International Trade Commission allocated 15 minutes of
 undivided argument time.
     Upon consideration thereof,
     IT IS ORDERED THAT:
    The motion is granted. The argument will proceed as
 requested by the parties.


                                               FOR THE COURT




  July 1, 2024
     Date
